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                       PSJ15 Exh 63
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                          EXALGO® Utilization
                                       Julie Milford




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                        EXALGO® Trends




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                                                                                               2
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            EXALGO® Rx and Patient Volume
             6000
                                     Monthly TRx by Strength                                                                       16,000
                                                                                                                                                              EXALGO® Patient Count Trends
                                             16MG becomes the                                                                      14,000                                 New Patients
             5000                           most common strength                                                                                                          On-Therapy Patients
                                                                                                                                   12,000
             4000




                                                                                                                   Patient Count
                                                                                                                                   10,000
                                                                                                          8MG
             3000
           TRx




                                                                                                                                    8,000
                                                                                                          12MG
                                                                                                          16MG                      6,000
             2000
                                                                                                                                    4,000
             1000
                                                                                                                                    2,000

                 0                                                                                                                     0




                                                                                                                                                     May-10




                                                                                                                                                                                                                                                                  May-11
                                                                                                                                            Apr-10


                                                                                                                                                              Jun-10


                                                                                                                                                                                Aug-10
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                                                                                                                                                                                                                             Jan-11
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                                                                                                                                                                                                                                                                           Jun-11


                                                                                                                                                                                                                                                                                             Aug-11
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                                                                                                                                                                                                                                                                                                                                          Jan-12
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                                                                               Oct-11
                                                                                        Nov-11

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                                                                                                 Mar-12
                                Jul-10




                                                  Dec-10




                                                                      Jul-11




                                                                                        Dec-11




            • In April 2011, the 16MG strength became the most common
              strength prescribed by physicians.
            • Patient counts increased considerably in 2012.
                                                                                                                                                                                                               Source: IMS NPA, IMS NPA Market Dynamics


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           EXALGO® Prescriptions by Payer
                               Payer Mix
                          Cash     Medicaid
                           5%        4%

               Workers' Comp                                                                   Over 70% of
                    9%
                                                                                               prescriptions are paid
                                                                                               through Commercial
                                                                                               payers and Medicare.
                     DIVS
                     11%
                                              Commercia l
                       Medica re                58%
                        13%




                                                                                                          Source: IMS Xponent PlantrakTM


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                                                                                                                                           4
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           EXALGO® Prescriber Activity
                                                       Prescriber Status                                                  Current Rxers
                                                                                                                                          Status by Specialty
                              5,000                                                                                       (Outer Ring)
                                                              4,531 (50%)
                              4,500                                                                                                             12%
                                                                                                                                                                      18%
                              4,000                                                                                                                         8%
                                         3,465 (38%)
                              3,500
            Physician Count




                              3,000                                                                                                 17% 35%
                              2,500                                                                                                              Discontinued Rxers
                                                                                                                                                                         28%
                                                                                                                                                    (Inner Ring)
                              2,000                                                                                                                                            18%
                              1,500                                                            1,154 (13%)
                              1,000                                                                                                             9%
                                                                                                                                          17%         7%      14%
                               500
                                 -                                                                                                                            18%
                                      Currently Writing   Discontinued Writing                New Writers
                                        EXALGO®               EXALGO®                                                                     Anesthesiology         PCP
                                                                                                                                          PA & NP                Pain Medicine
                                                                                                                                          PM&R                   Other


           • 1 in 2 physicians who wrote                                   EXALGO®                 at least once are considered
             “discontinued” writers.
                                – Pain specialists, Anesthesiologists, and PM&R specialists are less likely to be
                                  discontinuers than PCPs and other less common specialties.               Source: IMS Xponent PlantrakTM


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           Prescriptions of Early Prescribers
                             Prescribers                                                                     2012 Prescriptions


                                 13%                                                                                     9%

                                             39%
                                                                                                                   32%
                                                                                                                               59%
                             48%




                 Physicians who Started Writing EXALGO® in 2010                               From Physicians who Started Writing EXALGO® in 2010
                 Physicians who Started Writing EXALGO® in 2011                               From Physicians who Started Writing EXALGO® in 2011
                 Physicians who Started Writing EXALGO® in 2012                               From Physicians who Started Writing EXALGO® in 2012


           • 61% of prescribers started writing in 2011 or 2012, however only
             41% of 2012 prescriptions came from these prescribers. The early
             adopters tend to be more prolific.
                                                                                                                              Source: IMS Xponent PlantrakTM


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                                                                                                                                                               6
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               National Use of Opioids
                Heat Maps of Units through Cash Transactions




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           Methodology
           • Combined all IMS Xponent PlantrakTM cash prescriptions in the last
             two years by the prescribing physician’s three-digit zip code.

           • Product basket included therapies and strengths known to be
             highly abused, as well as EXALGO®.
                      –   5/325 and 10/325MG Hydro/APAP
                      –   2,4 and 8MG Dilaudid & generics
                      –   8, 12, and 16MG EXALGO®
                      –   5 and 10MG Methadone
                      –   60,100,200MG MS CONTIN® & generics
                      –   15 and 30MG Oxycodone HCL IR
                      –   5/325 and 10/325MG Oxycodone/APAP
                      –   40,60,80MG OxyContin® & generics
                      –   2 and 8MG Subutex® & generics

                                                                                                     Source: IMS Xponent PlantrakTM


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                                                                                                                                      8
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            Methodology (continued)
            • Calculated the per capita rate of cash Rx tablets for each
              three-digit zip code.
               – Used government census data for population counts.


            • Coded per capita rates into 5 different groupings to produce
              heat maps.
               –   Dark Blue: “Cold Spot” with 0 to .25 cash tablets per person
               –   Medium Blue: “Cool Spot” .25 to .5 cash tablets per person
               –   Bluish-Red: “Warm Spot” with .5 to 1 cash tablets per person
               –   Bright Red: “Hot Spot” with 1 to 2 cash tablets per person
               –   Dark Red: “Critical Spot” with 2 to 3 cash tablets per person


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                                                                                                      9
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             All Products
                                         Washington
                                         Washington



                                                                       Montana
                                                                       Montana                                                                                                                                                          Maine
                                                                                                                                                                                                                                        Maine
                                                                                                    North
                                                                                                    North Dakota
                                                                                                          Dakota

                                                       Idaho
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                                     Oregon
                                     Oregon                                                                               Minnesota
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                                                                                                                                                    Mississippi     Alabama
                                                                                                                                                                    Alabama

               Cash
               Cash Rx
                    Rx
                    Rx Quantity
                        Quantity
                        Quantity
                  Per Capita
                  Per Capita
                      Capita                                                                       Texas
                                                                                                   Texas
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                                                                                                                                                                                                       Source: IMS Xponent PlantrakTM


                                                                                 Confidential information for Covidien training purposes only.




  4 critical danger spots, 3 of which are in KY near the WV border.




                                                                                                                                                                                                                                                10
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             Hydro/APAP
                                         Washington
                                         Washington



                                                                       Montana
                                                                       Montana                                                                                                                                                          Maine
                                                                                                                                                                                                                                        Maine
                                                                                                   North
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                                                                                                         Dakota

                                                       Idaho
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                                                                          Wyoming
                                                                          Wyoming                                                                                                                                              Connecticut
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                           California
                           California                                                                                                                                                         West
                                                                                                                                                                                              West Virginia
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               Cash
               Cash Rx
                    Rx
                    Rx Quantity
                        Quantity
                        Quantity
                  Per Capita
                  Per Capita
                      Capita                                                                       Texas
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                                                                                                                                                                                                               Source: IMS Xponent PlantrakTM




                                                                                 Confidential information for Covidien training purposes only.




  Talking Points: 2 danger zones in KY, and just for this 1 product and 2 strengths alone. Hot
  spots near las vegas, in TX, AK, and AL. None in FL. California, TX, Idaho OK, and MS also
  have large portion of warm spots.




                                                                                                                                                                                                                                                11
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             Oxycodone/APAP & Oxycodone HCL
                                         Washington
                                         Washington



                                                                       Montana
                                                                       Montana                                                                                                                                                          Maine
                                                                                                                                                                                                                                        Maine
                                                                                                   North
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                                                       Idaho
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                                                                                                         Dakota                                                     Michigan
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                                                                          Wyoming
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               Cash
               Cash Rx
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                                                                                                                                                                                                               Source: IMS Xponent PlantrakTM




                                                                                 Confidential information for Covidien training purposes only.




  Many warm and hot spots in FL, but limited across the rest of the country. Shows
  geographical differences in potential abuse patterns. One can also follow the “oxy express”
  (highway 75) and see all the cool spots that pop up along the highway known to be used by
  drug seekers travelling for pills (according to the dea).




                                                                                                                                                                                                                                                12
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             EXALGO®
                                        Washington
                                        Washington



                                                                      Montana
                                                                      Montana                                                                                                                                                          Maine
                                                                                                                                                                                                                                       Maine
                                                                                                  North
                                                                                                  North Dakota
                                                                                                        Dakota

                                                      Idaho
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              Cash
              Cash Rx
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                   Rx Quantity
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                     22
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                                                                                                                                                                                                              Source: IMS Xponent PlantrakTM




                                                                                Confidential information for Covidien training purposes only.




  The entire country has cold spots for EXALGO cash tablets per capita. The highest rate is
  0.0006 in new jersey where there are 17 EXALGO cash patients and less than 100 EXALGO
  cash prescriptions.




                                                                                                                                                                                                                                               13
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            Critical Spots in Kentucky
            • 3 of the 4 critical spots in the US are in Kentucky near the
              West Virginia border.


                     Indiana
                     Indiana
                      Indiana
                                                                                 West
                                                                                 West Virginia
                                                                                      Virginia
                                                                                      Virginia

                                                                                                   Virginia
                                                                                                   Virginia

                                Kentucky
                                Kentucky



                                                                                                     Source: IMS Xponent PlantrakTM


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              KY Critical Spot Facts
              • Over 23 million tablets were prescribed since March 2010 in an
                area with a total population of 3.1 million.
                  – Total supply of dispensed tablets is enough to give every person in the
                    population almost 8 tablets.
              • 31% of all tablets were paid with cash.
              • The top critical zone in the country (412) had 33% of all cash
                tablets prescribed by 1 physician.
                  – The physician’s pain clinic was recently shut down, and its business
                    license was revoked. The physician surrendered his/her KY license in
                    early 2012. The physician told investigators he or she was offered $6,000
                    per week by the clinic owner, even though the physician had no
                    experience or training in pain management. The physician also claimed
                    to have not seen all patients who were given prescriptions he or she
                    signed.
              • In general, the prescribing habits of many physicians in the area
                most likely attract out-of-county drug seekers.
                      Source: IMS Xponent PlantrakTM , http://www.courier-journal.com/article/20120127/NEWS/301270084/Paintsville-revokes-business-license-medical-clinic-raided-Wednesday




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  Find total tablets of all products per capita




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            Florida Hot Spots
            • Florida physicians in 11 different hot/critical spots prescribed
              58% of all tablets in the nation’s hot/critical spots.
            • 21% of tablets were cash transactions.
            • 800 million tablets were dispensed in the 11 different
              hot/critical spots, and 1.5 billion tablets were dispensed in
              the entire state.


                                                                                         Florida
                                                                                         Florida
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                                                                                                   Source: IMS Xponent PlantrakTM


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            Hot Spot & Critical Spots Trends
                                                50%
                                                                                                                 Cash TRx Qty by Product
                                                45%          OXY HCL
                   Proportion of Cash TRx Qty                                                                                                                                                                                              HYCD/APAP
                                                40%                                                                                                                                                                                        OXYCODONE HCL
                                                                           HYCD/APAP
                                                35%                                                                                                                                                                                        METHADONE HCL
                                                30%                                                                                                                                                                                        OXYCODONE/APAP
                                                25%                                                                                                                                                                                        DILAUDID®
                                                20%                                                                                                                                                                                        MS-CONTIN®
                                                15%                                                                                                                                                                                        OXYCONTIN®
                                                                    METHADONE HCL
                                                10%                                                                                                                                                                                        SUBUTEX®
                                                                    OXY/APAP
                                                5%                                                                                                                                 DILAUDID®
                                                                                                                                                                                                                                           EXALGO®

                                                0%
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            •   In the nation’s hot and critical spots, notable usage shifts recently occurred.
                Oxycodone HCL tablets decreased in percentage usage, while
                Hydrocodone/APAP, Dilaudid®, Methadone, and Oxycodone/APAP increased.
                                                                                                                                                                                                                                           Source: IMS Xponent PlantrakTM


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            National Cash Trends
                                                70%
                                                                                                                  National Cash TRx Qty by Product

                                                60%                 HYCD/APAP
                   Proportion of Cash TRx Qty                                                                                                                                                                                               HYCD/APAP

                                                50%                                                                                                                                                                                         OXYCODONE HCL
                                                                                                                                                                                                                                            OXYCODONE/APAP
                                                40%                                                                                                                                                                                         METHADONE HCL
                                                                                                                                                                                                                                            DILAUDID®
                                                30%                                                                                                                                                                                         MS CONTIN®
                                                                OXY HCL                                                                                                                                                                     OXYCONTIN®
                                                20%
                                                                                                                                                                                                                                            SUBUTEX®
                                                                             OXY/APAP
                                                10%                                                                                                                                                                                         EXALGO®
                                                               METHADONE HCL

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            • The nation’s product trends are steady.
            • In 2012 the hot/critical spots are starting to mirror national product
              usage.
                                                                                                                                                                                                                                              Source: IMS Xponent PlantrakTM


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              Payer Trends over Time
                                                                         TRx Qty Share by Payer: Hot & Critical Spots
                                     45%

                                     40%



                                                                                                                                                                                                                                                                              • By 2012 the hot spot
                                     35%
            Payer Share of TRx Qty




                                                                                                                                                                                                                                                                 Commercial
                                     30%                                                                                                                                                                                                                         Medicare


                                                                                                                                                                                                                                                                                payer breakout
                                     25%                                                                                                                                                                                                                         Cash
                                     20%                                                                                                                                                                                                                         Medicaid
                                                                                                                                                                                                                                                                 Other

                                                                                                                                                                                                                                                                                transformed and looks
                                     15%

                                     10%



                                                                                                                                                                                                                                                                                similar to national
                                     5%

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                                                                                                  TRx Qty Share by Payer: Nation
                                                                                                                                                                                                                                                                                trends.
                                     45%

                                     40%

                                     35%
            Payer Share of TRx Qty




                                                                                                                                                                                                                                                                 Commercial
                                     30%
                                                                                                                                                                                                                                                                 Medicare
                                     25%
                                                                                                                                                                                                                                                                 Cash
                                     20%                                                                                                                                                                                                                         Medicaid
                                     15%                                                                                                                                                                                                                         Other

                                     10%

                                     5%

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                                                       Thank you!




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